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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRITANNY ANGELILLI, )
)
Plaintiff, )
Vv. )
)
SUMMIT FUNDING, INC., MCCALLA ) Case No. 1:23-cv-02759
RAYMER LEIBERT PIERCE, LLC, )
EXPERIAN INFORMATION SOLUTIONS, ) Hon. John J. Tharp
INC., and EQUIFAX INFORMATION )
SERVICES, INC., )
)
Defendants )
)

STIPULATION OF DISMISSAL WITHOUT PREJUDICE

Plaintiff Britanny Angelilli, Defendant Summit Funding, Inc. and Defendant McCalla Raymer
Leibert Pierce, LLC, by and through their respective attorneys, pursuant to Federal Rule of Civil
Procedure 41(a)(1)(A)(i), hereby stipulate to the dismissal without prejudice of this action, with
each party to bear its own attorney’s fees and costs, and that, consistent with the terms of the
Settlement Agreement and Release entered into by the Parties. The dismissal shall automatically

convert to a dismissal with prejudice on January 30, 2024, unless otherwise ordered by this Court.

Respectfully Jointly Submitted, Dated: December 14, 2023
Sulaiman Law Group, Ltd Arnett Law Group, LLC

/s/_ Mohammad O. Badwan /s/_ Kurt B. Drain

Mohammed 0. Badwan Kurt B. Drain

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Noonan & Lieberman, Ltd.
/s/ Pamela J. Leichtling
Pamela J. Leichtling
Noonan & Lieberman, Ltd.

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